      Case 1-15-44708-nhl       Doc 81    Filed 07/11/18     Entered 07/11/18 12:23:38




                                                                                   July 11, 2018

Judge Nancy Hershey Lord
US Bankruptcy Court
Eastern District of New York
271-C Cadman Plaza East
Suite 1595
Brooklyn, NY 11201-1800

              In Re: Najib Nazimy
              Case No. 15-44708-nhl

Dear Judge Lord,

       As you are aware, our firm continues to represent Citi Bank, National Association, as
secured creditor, in the above referenced matter. On or about December 28, 2017 we filed our
Motion for Relief from Stay (Docket #75) that is currently scheduled to be held on 7/17/2018.

       This letter serves to advise that our Motion for Relief from Stay is hereby withdrawn
without prejudice.

       Should you have any questions or concerns please feel free to contact this office. Thank
you for your kind consideration in this matter.



                                                           Respectfully,

                                                           /s/_Barbara Whipple
                                                           Barbara Whipple Esq.
                                                           Robertson, Anschutz & Schneid, PL
                                                           bwhipple@rasflaw.com
Cc: Barton P. Levine, Esq (Via ECF)
